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            HIGHLY CONFIDENTIAL – SEALED FILING




                  EXHIBIT B




      Filed Under Seal and Subject to Stipulated Protective Order in
          United States, et al. v. Google LLC, No. 20-cv-3010-APM
       State of Colorado, et al. v. Google LLC, No. 20-cv-3715-APM
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03010-APM HON.

 v.                                                    AMIT P. MEHTA
 GOOGLE LLC,

                                Defendant.


 STATE OF COLORADO, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03715-APM HON.

 v.                                                    AMIT P. MEHTA
 GOOGLE LLC,

 Defendant.



              PLAINTIFFS STATES’ EXHIBITS OFFERED FOR ADMISSION

       Plaintiff States offer the trial exhibits listed below for admission into evidence, subject to

Google’s ongoing objection to any embedded hearsay contained therein.

 PSX00004                 PSX00005                   PSX00006                PSX00012

 PSX00014                 PSX00015                   PSX00035                PSX00043

 PSX00050                 PSX00054                   PSX00055                PSX00057

 PSX00058                 PSX00060                   PSX00061                PSX00064

 PSX00066                 PSX00067                   PSX00069                PSX00070

 PSX00071                 PSX00072                   PSX00073                PSX00074

 PSX00076                 PSX00078                   PSX00079                PSX00088


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PSX00093          PSX00094              PSX00104        PSX00109

PSX00110          PSX00112              PSX00113        PSX00123

PSX00135          PSX00142              PSX00210        PSX00233

PSX00250          PSX00255              PSX00256        PSX00303

PSX00317          PSX00338              PSX00341        PSX00350

PSX00375          PSX00379              PSX00473        PSX00502

PSX00559          PSX00561              PSX00590        PSX00596

PSX00597          PSX00603              PSX00621        PSX00622

PSX00677          PSX00686              PSX00687        PSX00688

PSX00689          PSX00690              PSX00691        PSX00692

PSX00693          PSX00698              PSX00699        PSX00700

PSX00701          PSX00702              PSX00703        PSX00704

PSX00705          PSX00707              PSX00708        PSX00717

PSX00728          PSX00729              PSX00730        PSX00732

PSX00733          PSX00737              PSX00743        PSX00757

PSX00758          PSX00773              PSX00777        PSX00778

PSX00779          PSX00800              PSX00807        PSX00807

PSX00809          PSX00810              PSX00813        PSX00814

PSX00815          PSX00816              PSX00817        PSX00840

PSX00845          PSX00846              PSX00875        PSX00879

PSX00928          PSX00949              PSX00950        PSX00951

PSX00953          PSX00963              PSX00969        PSX00970

PSX00971          PSX00974              PSX00991        PSX00994


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PSX01007             PSX01009           PSX01053                  PSX01054

PSX01057             PSX01058           PSX01059                  PSX01079

PSX01108             PSX01117           PSX01144                  PSX01145

PSX01148             PSX01166           PSX01167                  PSX01186

PSX01192



 Dated: October 25, 2023                Respectfully submitted,

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